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                              IN THE UNITED STATES DISTRICT COUR T
                         IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISIO N


  SHARON COHEN, As Legal                  :        Case No . 05-61455-CIV-ALTONAGA
  Guardian of RUTH GORDON,                :        Magistrate Judge : William C. Turnoff

            Plaintiff,

  V.

  ROBERTA BINDERMAN and
  WILL AM BINDERMAN, both as
  Husband an d Wife , jointly and
  Individually and BANKUNITED
  FINANCIAL CORPORATION ,                                                                      1 v
  A Flo ida Corporation ,

            Defendants .


       PLAINTIFF'S MOTION IN LIMINE TO EXCLUDE TESTIMONY RELATING TO
                   STATEMENTS MADE BY DECEASED DECLARANT

            Statements made by the deceased Louis Gordon to the Defendants relative to alleged

   "Medicaid Planning" should be excluded . Accordingly, Plaintiff Sharon Cohen as Legal

   Guardian of Ruth Gordon hereby moves in limine to exclude those statements and in support

   states

                                              1.   BACKGROUN D

            I . Plaintiff has brought this action for violation of the Florida Civil Theft Act, Fla .

   Stat . 72 .11 (Count I), Replevin of the 1998 Nissan (Count II) and Tortious Interference with an

   Expectancy of Inheritance (Count III) .

            2 . Louis Gordon and Ruth Gordon jointly held accounts at BankUnited Financial

   Corp . ("Bank") numbered (a) 027-5002314 and (b) 027-5003779 ("Marital Accounts") .
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          3 . Defendant, Roberta Binderm an was the daughter of Mr . Gordon and is married to

  Defendant, William Binderm an .

          4. On October 21, 2004, William Binderman, purpo rtedly pursuant to the Power of

  Attorney for Louis Gordon retitled the Marital Accounts to reflect "Louis Gordon in trust for

  Robe a Binderman". (Depo . W . Binderman 152 :13-16 )

           5 . Louis Gordon died on October 24, 2004.

           6 . Prior to his death , Louis Gordon retained the law firm Franco , Wallace & Packer

  to plait for the Medicaid of his wife , Ruth Gordon .

           7 . Sco tt Wallace , Esq . of Franco , Wallace & Packer advised Mr . Gordon about

  options with respect to the titling of the Marital Accounts , among other things . (Depo . S .

   Walla e, 164 :2- 17 and passim )

           8 . Scott Wallace, Esq . testified that following his discussion with Mr . Gordon

   regar ing his options as to "Medicaid Planning" that he never gave him "an indication of what

   his ch~ices were ." ( Depo . S . Wallace 174 :21-175 :7)

           9. Upon Mr. Gordon 's death Roberta Binderman withdrew the funds in the re-titled

   Marit I Accounts and opened up a new bank . (Depo . W . Binderman 162 :13-17 )

                                      II. MEMORANDUM OF LA W

   The elf-Serving Hearsay Statements Relative to Re-titlin the Marital Accounts and
   Dis sal or Sale of Assets Purportedly Made by the Deceased, Louis Gordon, to the
   Defe dants Should Be Excluded .

           It is well-settled that "[h]earsay is defined as `a statement, other than one made by the

   declaii ant while testifying at the trial or hearing, offered in evidence to prove the truth of the

   matte asserted,' and generally is not admissible unless it falls under an exception to the hearsay
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  rule ." Watkins v . Southeastern Newspapers, Inc ., 163 Fed . Appx . 823 (11th Cir . 2006) ; Fed . R.

  Evid. 01 and 802 .

          Defendants have alleged that their actions of re-titling the joint marital accounts between

  Louis Gordon and Ruth Gordon, the sale of the 1998 Nissan and the removal and purchase of the

  furnishings, ring, watches and personal effects of Louis Gordon were to effect "Medicai d

  Planning" for Ruth Gordon . [Depo . W . Binderman, passim and Depo . R. Binderman, passim] .

  Theo only person to whom Mr. Gordon allegedly conveyed his desire to re-title the Marita l

  Acco nt to an account held in trust for Roberta Binderman was William Binderman . (Depo . W .

   Binde an153 :16-24) Thus, the re-titling of the Marital Account stood to benefit th e

   Defen ant, Roberta Binderman and by association, Defendant William Binderman .

           Any testimony by the Defendant, Bindermans relative to the re-titling of the Marital

   Acco nts and the sale or disposal of Mr . Gordon's personal effects and estate should be

   excluded ; especially since "[t]here is no way for [Plaintiff] to verify the accuracy of th e

   testimony or of the out-of-court statements that the testimony reports, and the reliability of the

   testimony cannot be taken for granted ." Herzog v . Castle Rock Entertainment , 193 F . 3d 1241,

   1254 11th Cir. 1999) ; Herzog v . Castle Rock Entertainment 1998 U.S. Dist . LEXIS 22503 (SD

   Fla. 1 98)(Middlebrooks, J .)(same, affirmed by the Eleventh Circuit) . Similarl to the issues

   facie the court in Herzog , the statements by the deceased, Louis Gordon are not admissible

   "simp y because Mr . [Gordon] is now deceased ." Id. (citing, Rock v . Huffco , 922 F .2d 272, 282

   (5th C r . 1991)(affirmed exclusion of decedent's hearsay statements) ; see also Williams v.

   Cons lidated City of Jacksonville, 2006 U .S . Dist . LEXIS 8257 (February 8, 2006)(granted

   motio in limine to exclude hearsay statements by wife of deceased "concerning the operative

   facts iving rise to th[e] action .")
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          In this case, the Defendants directly stand to benefit from the alleged statements made by

  Mr. G rdon to re-title the Marital Accounts and clearly have an interest in the outcome of this

  case. Thus, there is no indicia of reliability to those statements and as in Williams , these

  statements concern the "operative facts giving rise to this action ." Id . Furthermore, these

  statements will certainly cause juror confusion and prejudice to the Plaintiff as the declarant (Mr .

  Gordon) is now deceased and his wife (Ruth Gordon) lacks any capacity to testify .

          Accordingly, the testimony by Defendants as to hearsay statements made by the deceased

   Louis Gordon as to the issues giving rise to this lawsuit should be excluded .

                                          III. CONCLUSIO N

          For the foregoing reasons, this Court should grant Plaintiffs Motion in Limine and

   Prohibit Defendants from presenting any evidence relative to statements allegedly made by Louis

   Gordon concerning the re-titling of bank accounts or the disposal and/or sale of his assets .

                                     CERTIFICATE OF SERVIC E

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via U .S .

   Mail n this 26th day of July 2006 upon : William Xanttopoulos, Esq ., Walton Lantaff Schroeder

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